Case 14-10979-CSS   Doc 1441-3   Filed 07/01/14   Page 1 of 24




                       EXHIBIT B

               Blackline of Amended Motion
             Case 14-10979-CSS               Doc 1441-3           Filed 07/01/14       Page 2 of 24




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )     Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )     Case No. 14-10979 (CSS)
                                                              )
                           Debtors.                           )     (Jointly Administered)
                                                              )

                    AMENDED MOTION OF ENERGY FUTURE
               HOLDINGS CORP., ET AL., FOR ENTRY OF AN ORDER
             AUTHORIZING CERTAIN OF THE DEBTORS TO CONTINUE
            HONORING OBLIGATIONS TO RETIREES AND NON-INSIDER
         EMPLOYEES ON ACCOUNT OF NON-QUALIFIED BENEFIT PROGRAMS


         The above-captioned debtors and debtors in possession (collectively, the “Debtors”) file

this motion (this “Motion”) for entry of an order, substantially in the form attached hereto as

Exhibit A (the Order”), authorizing the Participating Debtors (as defined herein) to continue to

honor certain obligations to retirees and non-insider employees on account of two Non-Qualified

Benefit Programs (as defined herein) in the ordinary course of business (approximately $25.2

million in the aggregate).        2In support of this Motion, the Debtors submit the Declaration of


Carrie Kirby , Executive Vice President of Human Resources for Energy Future Holdings Corp.

in Support of the Amended Motion of Energy Future Holdings Corp., et al., for an Order

1   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2   For the avoidance of doubt, the Debtors are not seeking relief with respect to any employees who are excluded
    from the relief requested in the Motion of Energy Future Holdings Corp., et al., for Entry of an Order
    Authorizing the Debtors to (A) Pay Certain Prepetition Amounts On Account of Non-Insider Compensation
    Programs and (B) Continue the Non-Insider Compensation Programs in the Ordinary Course of Business on a
    Postpetition Basis [D.I. 468] (the “Non-Insider Compensation Motion”) and as may be described in one or more
    declarations filed in support of the Non-Insider Compensation Motion.
            Case 14-10979-CSS         Doc 1441-3      Filed 07/01/14     Page 3 of 24




Authorizing Certain of the Debtors to Continue Honoring Obligations to Retirees and

Non-Insider Employees on Account of Non-Qualified Benefit Programs (the “Kirby

Declaration”). In further support of this Motion, the Debtors respectfully state as follows.

                                     Jurisdiction and Venue

       1.      The United States Bankruptcy Court for the District of Delaware (the “Court”)

has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and the Amended

Standing Order of Reference from the United States District Court for the District of Delaware,

dated February 29, 2012. This matter is a core proceeding within the meaning of 28 U.S.C.

§ 157(b)(2), and the Debtors confirm their consent pursuant to rule 9013-1(f) of the Local Rules

of Bankruptcy Practice and Procedure of the United States Bankruptcy Court for the District of

Delaware (the “Local Bankruptcy Rules”) to the entry of a final order by the Court in connection

with this Motion to the extent that it is later determined that the Court, absent consent of the

parties, cannot enter final orders or judgments in connection herewith consistent with Article III

of the United States Constitution.

       2.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       3.      The bases for the relief requested in this Motion are sections 105(a), 362, 363, and

507(a)(4)-(5) of title 11 of the United States Code (the “Bankruptcy Code”), and rule 6004 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                        Relief Requested

       4.      By this Motion, the Debtors seek entry of an Order authorizing, but not directing,




                                                 2
              Case 14-10979-CSS             Doc 1441-3        Filed 07/01/14        Page 4 of 24




certain of the Debtors (the “Participating Debtors”)32 to honor certain of their obligations to

current, non-insider and former employees under the Non-Qualified Benefit Programs .

(approximately $25.2 million in the aggregate).3

                                                 Background

         5.       On April 29, 2014 (the “Petition Date”), each of the Debtors filed a voluntary

petition with the Court under chapter 11 of the Bankruptcy Code. The Debtors are operating

their businesses and managing their properties as debtors in possession pursuant to

sections 1107(a) and 1108 of the Bankruptcy Code. The Court has entered an order for joint

administration of these chapter 11 cases. The Court has not appointed a trustee. The Office of

the United States Trustee for the District of Delaware (the “U.S. Trustee”) formed an official

committee of unsecured creditors in these chapter 11 cases on May 13, 2014 [D.I. 420]. Further

information regarding the Debtors’ business operations and capital structure is set forth in the

declaration of Paul Keglevic in support of the Debtors’ first day motions [D.I. 98].

I.       Overview of the Non-Qualified Benefit Programs.

         6.       The Debtors have, through the Participating Debtors, historically offered two

non-qualified benefit programs to certain eligible employees: (a) a non-contributory,

non-qualified pension plan that provides retirement benefits to participants whose tax-qualified

pension benefits are limited due to restrictions under the Internal Revenue Code and/or deferrals

32   The Participating Debtors are composed of those Debtors whose former or current employees participate in at
     least one of the Non-Qualified Benefit Programs: 4Change Energy Company; EFH Corporate Service
     Company; Energy Future Holdings Corp. (“EFH Corp.”); LSGT Gas Company LLC; Luminant Energy
     Company LLC; Luminant Generation Company LLC; Luminant Mining Services Company LLC; and TXU
     Energy Retail Company LLC.

3    For the avoidance of doubt, the Debtors are not seeking relief with respect to any employees who are excluded
     from the relief authorized in the requested in the Order (Second Final) Authorizing the Debtors to (A) Pay
     Certain Prepetition Amounts on Account of Non-Insider Compensation Programs and (B) Continue the Non-
     Insider Compensation Programs in the Ordinary Course of Business on a Postpetition Basis [D.I. 1420].




                                                        3
             Case 14-10979-CSS              Doc 1441-3        Filed 07/01/14         Page 5 of 24




to other defined benefit programs (the “Second Supplemental Retirement Plan“SSRP”)4 and (b) a

contributory, non-qualified defined contribution plan that permitted participants to voluntarily

defer a portion of their base salary and/or annual incentive plan bonuses (the “Salary Deferral

Program“SDP” and, together with the Second Supplemental Retirement PlanSSRP, the “Non-

Qualified Benefit Programs”). See Kirby Decl. ¶ 3.

        7.       Obligations under the Non-Qualified Benefit Programs are, in part, funded by

rabbi trusts that EFH Corp owns. See Kirby Decl. ¶ 4. The assets in the trusts consist of cash,

fixed income securities, and variable life insurance contracts. Id. As of the Petition Date, the

Salary Deferral Program SDP rabbi trust has approximately $9.9 million in assets and the Second

Supplemental Retirement Plan SSRP rabbi trusts have approximately $13.8 million in assets. Id.

The assets in the rabbi trusts are subject to substantial restrictions and are available to satisfy

creditor claims against the Participating Debtors. Id. In the absence of these restrictions, eligible

employees would have been required to include any contributions to the rabbi trust (and any

interest or other earnings of the rabbi trust) in their gross taxable income in the year in which the

contribution was made or the interest was obtained. See McAllister v. Resolution Trust Corp.,

201 F.3d 570, 572-73, 575 (5th Cir. 2000).

        8.       The Participating Debtors froze the Non-Qualified Benefit Programs in

December 2012 such that no current employee can join the Non-Qualified Benefit Programs and

previously participating current employees can no longer contribute to the Non-Qualified Benefit

Programs. See Kirby Decl. ¶ 5. That said, the Participating Debtors have continued to honor

4   The Participating Debtors historically maintained a First Supplemental Retirement Plan. All amounts under the
    First Supplemental Retirement Plan were paid through a secular trust in 2013 and neither the trust nor the First
    Supplemental Retirement Plan is in existence as of the Petition Date. All plan documentation related to the
    Second Supplemental Retirement Plan refers to such plan as the “Second” Supplemental Retirement Plan and
    for the sake of consistency, the Participating Debtors have used the same nomenclature in this Motion.




                                                         4
             Case 14-10979-CSS         Doc 1441-3     Filed 07/01/14     Page 6 of 24




their obligations under the Non-Qualified Benefit Programs and, by this Motion, seek to continue

honoring certain of these obligations, specifically to retirees and current, non-insider employees,

during these chapter 11 cases. Id.

       9.      The Participating Debtors’ obligations under the Non-Qualified Benefit Programs

represent compensation that participating current, non-insider and former employees earned in

the ordinary course of business, but opted to receive at a later date that was either added to their

retirement through the SSRP or received at a later day through the SDP, if the employee so

opted. See Kirby Decl. ¶ 6. These current and former employees are leaders within the Debtors’

businesses as well as leaders within the Debtors’ industry and communities. As such, they are in

a position to contribute to the stabilization of the workforce and communities at a time when

attrition may be highof uncertainty, thereby ensuring continuity of operations. Id. They are also

well-equipped to preserve the Debtors’ long-standing and crucial relationships with key -players

constituents in the Texas energy market, including -ERCOT, various regulators, political leaders,

community leaders, and vendors that are necessary for the Debtors’ business operations. Id.

       10.     Importantly, many of the retirees receiving payments under the Non-Qualified

Benefit Programs have been receiving such payments for over twenty years and rely on such

payments to meet basic living costs. See Kirby Decl. ¶ 7. These retirees are by and large in the

70-90 year age range and, in many some instances, do not have access to other funds. Id.

Inability to access payments under the Non-Qualified Benefit Programs will have an immediate

and substantially harmful effect on their day-to-day lives and, ultimatelypotentially in some

cases, their health and welfare. Id.

       A.      Second Supplemental Retirement Plan.

       11.     As of the Petition Date, the Participating Debtors are obligated to provide benefits

to a total of 274 current and former employees (with a total obligation of approximately $21.2
                                                 5
              Case 14-10979-CSS            Doc 1441-3        Filed 07/01/14        Page 7 of 24




million) under the Second Supplemental Retirement PlanSSRP.                          See Kirby Decl. ¶ 8.

Importantly, however, the Participating Debtors do not seek to make payments to any current

employee who may be considered an insider under the Bankruptcy Code. Id. By this Motion,

the Participating Debtors seek to honor their obligations to current non-insider employees and

former employees under the Second Supplemental Retirement Plan SSRP (a total obligation of

approximately $19.6 million).

        12.      As described below, these current, non-insider and former employees are eligible

to receive either a cash benefit or a traditional defined benefit.5 See Kirby Decl. ¶ 9. The

current, non-insider and former employees who are either currently receiving benefits under the

Second Supplemental Retirement Plan SSRP or who are entitled to receive such benefits in the

future upon achieving certain eligibility metrics are described as follows (collectively, the

“SERP SSRP Beneficiaries”):

                 •   SERP SSRP Retirees. There are 162 former employees retirees who currently
                     receive traditional benefits under the Second Supplement Retirement Plan
                     SSRP (collectively, the “SERP SSRP Retirees”). The Participating Debtors’
                     total outstanding obligation on account of the SERP SSRP Retirees is
                     approximately $15.3 million. Id.

                 •   SERP SSRP Term Vested RetireesParticipants. There are 85 former
                     employees participants whose benefits have vested but who are not yet
                     eligible to receive payments, because, for example, such former employees
                     have not attained the age necessary to receive traditional benefits or have not
                     participated for a minimum of ten years, as is required to obtain a cash benefit
                     (collectively, the “SERP SSRP Term Vested RetireesParticipants”). 52 SERP
                     of the SSRP Term Vested Retirees Participants will receive a cash benefit that
                     EFH Corp. will pay as a lump sum. The remaining SERP 33 SSRP Term
                     Vested Retirees Participants will receive a traditional benefit which EFH
                     Corp. will pay on a monthly basis. The Participating Debtors’ total

5   A cash benefit is a defined aggregate amount that is paid out either as a lump sum or in the form of monthly
    payments, at the participant’s election at the time of deferral. A traditional benefit does not have a defined
    aggregate amount but, rather, has a defined monthly payment that is paid until the participant’s death.




                                                        6
              Case 14-10979-CSS             Doc 1441-3        Filed 07/01/14         Page 8 of 24




                     outstanding obligation on account of the SERP SSRP Term Vested Employees
                     Participants is approximately $4.1 million. Id.

                 •   SERP SSRP Active Employees. There are 15 current active employees who
                     have earned but not yet received any payments under the Second
                     Supplemental Retirement Plan. Approximately 7 of these employees may be
                     considered insiders under the Bankruptcy Code. The Participating Debtors do
                     not seek any relief with respect to these employees. The remaining eligible
                     employees are entitled to receive either a cash balance benefit (that EFH Corp.
                     will pay as a lump sum) or a traditional defined benefit at the time of
                     retirement (collectively, the “SERP SSRP Active Employees”).               The
                     Participating Debtors’ total outstanding obligation on account of the SERP
                     SSRP Active Employees is approximately $207,000.6 Id.

        13.      EFH Corp. uses the services of Fidelity to pay those participants who are entitled

to payments under the Second Supplemental Retirement PlanSSRP. See Kirby Decl. ¶ 10. Each

month, EFH Corp. funds its obligations under the Second Supplemental Retirement Plan SSRP

to Fidelity and Fidelity, in turn, pays each participant. Id. On average, EFH Corp. pays Fidelity

approximately $5,600 on a monthly basis for its services. Id. EFH Corp. also pays The Bank of

New York Mellon approximately $1,750 on a quarterly basis for its services as trustee of the

Second Supplemental Retirement Plan SSRP rabbi trusts.                        Id.   As of the Petition Date,

approximately $32,000 is due and payable on account of these administration costs. Id.

        14.      Importantly, the SERP SSRP Retirees include approximately 20 retirees affiliated

with an entity the Debtors acquired in 1997 (the “EBASCO SERP Retirees”). See Kirby Decl. ¶

11. As part of the acquisition, the Participating Debtors absorbed the retirement obligations


6   There are approximately 12 currently employees of Oncor Electric Delivery Holding Company LLC (a
    non-Debtor affiliate of the Debtors, “Oncor”) who spent a portion of their career working for the Debtors before
    moving to Oncor. These employees accrue benefits under the Second Supplemental Retirement Plan in
    connection with their service to the Debtors. Six of these employees will be entitled to a cash benefit and six
    will be entitled to a traditional defined benefit. EFH Corp.’s total payment obligations on account of these 12
    Oncor employees, determined based on how many years each such employee spent at the Debtors as opposed to
    at Oncor, cannot be determined with certainty while such employees are still working at Oncor. For illustrative
    purposes, assuming all such employees retired on December 31, 2013, EFH Corp.’s total outstanding obligation
    on account of these 12 Oncor employees would be approximately $25,000.




                                                         7
             Case 14-10979-CSS       Doc 1441-3         Filed 07/01/14   Page 9 of 24




owed to the EBASCO Retireesretirees.        Id.       The Participating Debtors’ total outstanding

obligation on account of SERP the SSRP Retirees, approximately $17 million, includes

approximately $1 million attributable to the EBASCO SERP Retireesparticipant retirees. Id.

Each EBASCO SERP Retiree retiree is entitled to receive, on average, approximately $570 per

month through the SERPSSRP. Id. These retirees, several in their 80s and 90s, were never

employed by the Debtors and rely heavily on retirement funds from the SSRP. Id.

       B.      The Salary Deferral Program.

       15.     The Salary Deferral Program SDP historically permitted participating employees

to contribute up to 50% of their base salary and up to 85% of their annual incentive plan bonus.

See Kirby Decl. ¶ 12. As of the Petition Date, the Participating Debtors are obligated to provide

benefits to a total of 72 current and former employees (with a total obligation of approximately

$6 million) under the Salary Deferral ProgramSDP. Id. As described below, the Participating

Debtors only seek to honor obligations to former employees eligible to receive payments under

the Salary Deferral Program SDP (approximately $5.6 million in the aggregate).

       16.     Benefits under the Salary Deferral Program SDP vest over various periods of time

for each participant and, once vested, the trustee for the Salary Deferral Program SDP (The Bank

of New York Mellon) distributes the benefits as either a lump sum or as annual installments,

depending on the participant’s election at the date of deferral. See Kirby Decl. ¶ 13. There are

53 former employee participants in the Salary Deferral Program SDP (collectively, the “SDP

Retirees”). Id. EFH Corp. pays all of the benefits owed to the SDP Retirees either as a lump

sum or in monthly installments, depending on the participant’s election at the date of deferral.

Id. The Participating Debtors’ total outstanding obligation on account of the SDP Retirees is




                                                  8
                Case 14-10979-CSS            Doc 1441-3         Filed 07/01/14        Page 10 of 24




approximately $5.6 million.7 Id. On average, EFH Corp. pays The Bank of New York Mellon

approximately $4,500 each quarter to administer the Salary Deferral ProgramSDP, of which and

approximately $9,000 is due and payable as of the Petition Date. Id.

II.       Honoring Obligations Under the Non-Qualified Benefit Programs is Critical to the
          Health and Welfare of the Debtors’ Retirees and the Stability of the Debtors’
          Operations.

          17.      Payments under the Second Supplemental Retirement Plan SSRP are absolutely

critical to many retirees, in particular the EBASCO SERP Retireesretirees, who, like others

across the SERP Retiree retiree population, have been receiving payments for over 20 years and

rely on these payments for basic needs. See Kirby Decl. ¶ 14. Relatedly, a number of the SERP

SSRP Retirees receive more from the Second Supplemental Retirement Plan SSRP than they do

from a traditional retirement plan because they either opted for early retirement or participated in

a buyback of their benefits in the 1980s. Id. In both cases, these SERP Retirees retirees received

a lump sum amount which was placed in the Second Supplemental Retirement Plan SSRP and

with respect to which they are now entitled to payments. Id.

          18.      In addition, many of the SERP SSRP Retirees and SDP Retirees continue to be

influential within the Debtors’ communities and within the Debtors’ industry. See Kirby Decl. ¶

15. The SERP Retireesretirees’ continued (and vocal) support of the Debtors’ operations and

business planning efforts plays an important role in the Debtors’ outreach efforts and helps keep


7     There are 19 active employee participants in the Salary Deferral ProgramSDP, approximately 4 of whom may
      be considered insiders under the Bankruptcy Code. The Participating Debtors do not seek any relief with
      respect to these employees. The remaining 15 employees who participate in the Salary Deferral Program SDP
      are entitled to receive EFH Corp. stock. Under the terms of the relevant plan documents, this stock must remain
      in a restricted account until the occurrence of an “event” as defined in such plan documents. Upon the
      occurrence of an “event,” the participating SDP active employees are eligible to receive the cash value of the
      EFH Corp. stock to which they are entitled, valued as of the date of the “event.” The filing of these chapter 11
      cases constituted an “event” and, consequently, the eligible SDP active employees are entitled to the cash value
      of their EFH Corp. stock as of the Petition Date, which is zeroconsidered to be de minimis.




                                                           9
             Case 14-10979-CSS       Doc 1441-3      Filed 07/01/14     Page 11 of 24




the Debtors competitive. Id. Similarly, the SDP Retirees support the Debtors’ businesses by

using their influence within the Debtors’ communities to garner support for the Debtors’

operations and, critically, by using their industry experience to continue advising A number of

these retirees continue to play active roles in the communities in which the Debtors operate,

frequently interact with employees, and often interact with the Debtors’ leadership team. Id.

Importantly, the majority of compensation deferred in the Salary Deferral Plan SDP was deferred

when the Participating Debtors operated as a regulated entity. Id. Under these circumstances,

the SDP Retirees reasonably believed their deferred compensation would be protected and

available to them upon their retirement. Id.

       19.      Finally, the SERP SSRP Active Employees consist of vital business leaders,

whose direction and ongoing commitment to the Debtors is indispensable during these chapter

11 cases and in the future. See Kirby Decl. ¶ 16. As the Debtors have said time and time again

during their chapter 11 cases, this is a balance sheet restructuring, not an operational

restructuring. Id. Operationally, the Debtors have historically been, and continue to be, leaders

in their various hyper-competitive competitive market industries and this accomplishment is in

no small part due to their exceptional leadership team. Id.

       20.      For these reasons, the Debtors seek authority, but not direction to continue to

honor obligations to the SERP SSRP Beneficiaries and the SDP Retirees in the ordinary course

of business on a postpetition basis and honor related administration costs.

                                         Basis for Relief

I.     Sufficient Cause Exists to Authorize the Debtors to Honor Non-Qualified Benefit
       Programs

       21.      Courts in the Third Circuit and elsewhere generally recognize that debtors may

pay prepetition claims that are essential to the continued operation of the debtor’s business. See,


                                                10
             Case 14-10979-CSS       Doc 1441-3     Filed 07/01/14     Page 12 of 24




e.g., In re Meridian Auto. Sys.-Composite Operations, Inc., 372 B.R. 710, 714

(Bankr. D. Del. 2007) (granting the debtor authority to pay prepetition obligations owed to

certain critical vendors); In re Primary Health Sys., Inc., 275 B.R. 709, 710 (Bankr. D. Del.

2002) (allowing payment of prepetition wages upon a finding that such relief was “essential to

the continued operation of the Debtors’ businesses”); In re Just for Feet, Inc., 242 B.R. 821,

824-45 (Bankr. D. Del. 1999) (noting that debtors may pay prepetition claims that are essential to

the continued operation of the debtor’s business). Courts have relied on several legal bases in

approving such relief.

       22.      Courts generally recognize that debtors may pay prepetition claims under section

363(b) of the Bankruptcy Code where there is a sound business purpose for the payment of

prepetition obligations, and where the debtor is able to “articulate some business justification,

other than the mere appeasement of major creditors.” See, e.g., In re Ionosphere Clubs, Inc.,

98 B.R. 174, 175 (Bankr. S.D.N.Y. 1989) (granting debtor authority to pay prepetition wages);

Armstrong World Indus. Inc. v. James A. Phillips, Inc., (In re James A. Phillips, Inc.),

29 B.R. 391, 398 (Bankr. S.D.N.Y. 1983) (granting the debtor the authority to pay prepetition

claims of suppliers who were potential lien claimants).

       23.      Courts also recognize that payments to prepetition creditors are appropriate

pursuant to section 105(a) of the Bankruptcy Code under the “doctrine of necessity” or the

“necessity of payment” rule where such payments are necessary to the continued operation of the

debtor’s business.    See, e.g., In re Lehigh & New England Ry. Co., 657 F.2d 570, 581

(3d Cir. 1981) (holding that a court could authorize the payment of prepetition claims if such

payment was essential to the continued operation of the debtor); In re Penn Cent. Transp. Co.,

467 F.2d 100, 102 n.1 (3d Cir. 1972) (holding that the necessity of payment doctrine permits



                                               11
             Case 14-10979-CSS       Doc 1441-3      Filed 07/01/14     Page 13 of 24




“immediate payment of claims of creditors where those creditors will not supply services or

material essential to the conduct of the business until their pre-reorganization claims have been

paid”); In re Friedman’s, Inc., 2011 WL 5975283, at *3 (Bankr. D. Del. Nov. 30, 2011) (“[M]ost

courts will allow payments [of prepetition claims] under the ‘doctrine of necessity,’ if the debtor

establishes that in its business judgment making such payments is critical to the survival of the

debtor’s business”); In re Columbia Gas Sys., Inc., 171 B.R. 189, 191–92 (Bankr D. Del. 1994)

(noting that debtors may pay prepetition claims that are essential to the continued operation of

the debtor’s business). The rationale for the necessity of payment rule—the rehabilitation of a

debtor in reorganization cases—is “the paramount policy and goal of Chapter 11.” Ionosphere

Clubs, 98 B.R. at 176; Just for Feet, 242 B.R. at 826 (finding that payment of prepetition claims

to certain trade vendors was “essential to the survival of the debtor during the chapter 11

reorganization.”).

       24.      Here, the relief requested in this Motion will benefit the Debtors’ estates and

creditors by allowing the Debtors’ business operations to continue without interruption. See

Kirby Decl. ¶ 17. The employees and former employees that are eligible to participate in the

Non-Qualified Benefit Programs are critical to the Debtors’ rehabilitation efforts in two distinct

ways. Id. First, these current and former employees are, and continue to be, leaders within the

Debtors’ internal businesses, and therefore, are crucial to the Debtors’ efforts to maintain the

continued stability of the workforce at a time when employee morale is low and attrition is

potentially high.    Id.   Second, these employees are leaders within the Debtors’ external

businesses, and therefore are key to the Debtors preserving their role in the Texas energy market.

Id. Together, both current and former employees in these plans are active participants in the

extended family of the Debtors created over decades of multiple generations of people across the



                                                12
             Case 14-10979-CSS       Doc 1441-3       Filed 07/01/14    Page 14 of 24




state working for and doing business with the Debtor organizations. Id. The influence of this

extended family on the stability of current and future operations of the company and the Texas

energy market is significant. Id.

       25.      From both these perspectives, the employees eligible to participate in the

Non-Qualified Benefit Programs possess indispensable institutional knowledge and experience,

as well as critical relationships with key players in the Debtors’ industry. See Kirby Decl. ¶ 18.

Following the Petition Date, employee retention may become an immediate and significant issue

for the Debtors. Id. Payment of obligations arising in connection with the Non-Qualified

Benefit Programs, and the continuation of these Non-Qualified Benefit Programs on a

postpetition basis, will provide critical Employees with a greater sense of financial security. Id.

A greater sense of financial security may benefit the Debtors in two ways. Id. First, these

employees may be deterred from gifting their irreplaceable institutional knowledge and

experience to other companies in the Debtors’ industry. Id. Second, these employees are in a

position to continue to promote stability in the business. Id.

       26.      Importantly, the amounts payable under the Non-Qualified Benefit Programs

reflect compensation earned by eligible employees. See Kirby Decl. ¶ 19. These amounts are

not new performance or incentive bonuses tied to targets that were not, but are rather amounts

that employees earned in the ordinary course of business. Id. Accordingly, failure to make

payments under the Non-Qualified Benefit Programs would result in a significant and

unwarranted salary reduction and in retirement funding and security for the impacted employees.

Id.

       27. This point is especially worth emphasizing with respect to the EBASCO SERP

             Retirees. See Kirby Decl. ¶ 20. The EBASCO SERP Retirees earned their retirement



                                                 13
              Case 14-10979-CSS            Doc 1441-3         Filed 07/01/14        Page 15 of 24




              funding in the ordinary course of business. Id. At this point, the EBASCO SERP

              Retirees are well beyond any applicable working-age limits. Id. On average, they

              receive less than $600 a month from the SERP and for some, the SERP payments

              serve as their primary, if not sole, source of funds. Id. Inability to access SERP

              payments they have earned and are otherwise entitled to will significantly endanger

              the lives of the EBASCO SERP Retirees. Id.

        27.      28.The importance of honoring obligations related to Non-Qualified Benefit

programs has been recognized by courts in this district and others in granting relief similar to the

relief requested in this Motion. See, e.g., In re Neenah Enters., Inc., No. 10-10360 (MFW)

(Bankr. D. Del. 2010) (authorizing the Debtor to immediately honor outstanding obligations in

connection with a supplemental retirement plan for ten employees); In re Lear Corp.,

No. 09-14326 (ALG) (Bankr. S.D.N.Y. 2009) (granting relief on a final basis to honor

prepetition obligations in connection with several non-qualified benefit plans for certain of their

key employees); In re Charter Commc’ns, Inc., No. 09-11435 (JMP) (Bankr. S.D.N.Y. 2009)

(authorizing the Debtors to honor their obligations to certain critical employees under a non-

qualified benefit program); In re Tousa, Inc., No. 008-10928 (JKO) (Bankr. S.D. Fla. 2008)

(granting relief on a final basis to honor their prepetition obligations in connection with a

non-qualified benefit program that included certain critical employees); In re Global Grossing

Ltd., No. 02-40188 (REG) (Bankr. S.D.N.Y. 2002) (allowing the Debtors to immediately honor

obligations related to two non-qualified benefit plans for members of the Debtors’ management

team, including authority to honor prepetition obligations).8 By this Motion, the Debtors do not


8   Because of the voluminous nature of the orders cited herein, such orders are not attached to this motion. Copies
    of these orders are available upon request to the Debtors’ counsel.




                                                        14
               Case 14-10979-CSS       Doc 1441-3       Filed 07/01/14   Page 16 of 24




seek interim relief with respect to the Non-Qualified Benefit Programs.

                         Waiver of Bankruptcy Rules 6004(a) and 6004(h)

         28.      29.To implement the foregoing successfully, the Debtors seek a waiver of the

notice requirements under Bankruptcy Rule 6004(a) and the 14-day stay of an order authorizing

the use, sale, or lease of property under Bankruptcy Rule 6004(h).

                                       Reservation of Rights

         29.      30.Nothing contained in this Motion or any actions taken by the Debtors pursuant

to relief granted in the Order is intended or should be construed as: (a) an admission as to the

validity of any claim against a Debtor entity; (b) a waiver of the Debtors’ rights to dispute any

claim on any grounds; (c) a promise or requirement to pay any claim; (d) an implication or

admission that any particular claim is of a type specified or defined in this Motion; (e) a request

or authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; or (f) a waiver or limitation of the Debtors’ rights under the Bankruptcy Code

or any other applicable law. If the Court grants the relief sought in this Motion, any payment

made pursuant to the Court’s order is not intended and should not be construed as an admission

as to the validity of any claim or a waiver of the Debtors’ rights to subsequently dispute such

claim.

                                               Notice

         30.      31.The Debtors shall provide notice of this Motion on the date hereof via U.S.

first class mail to: (a) the Office of the U.S. Trustee for the District of Delaware; (b) (i) the

entities listed on the Consolidated List of Creditors Holding the 50 Largest Unsecured Claims

filed pursuant to Bankruptcy Rule 1007(d); and (ii) proposed counsel to the Creditors’

Committee; (c) Wilmington Trust, N.A., in its capacity as administrative agent under the TCEH

first lien credit agreement and collateral agent under the TCEH intercreditor agreements and

                                                 15
          Case 14-10979-CSS         Doc 1441-3     Filed 07/01/14    Page 17 of 24




counsel thereto; (d) Bank of New York Mellon Trust Company, N.A., in its capacity as indenture

trustee under: (i) the TCEH unsecured pollution control revenue bonds; and (ii) the EFCH 2037

Notes due 2037, and counsel thereto; (e) American Stock Transfer & Trust Company, LLC, in its

capacity as indenture trustee under: (i) the 9.75% EFH senior unsecured notes due 2019; (ii) the

10.0% EFH senior unsecured notes due 2020; (iii) the 10.875% EFH LBO senior unsecured

notes due 2017; (iv) the 11.25%/12.0% EFH LBO toggle notes due 2017; (v) the 5.55% EFH

legacy notes (series P) due 2014; (vi) the 6.50% EFH legacy notes (series Q) due 2024; and (vii)

the 6.55% EFH legacy notes (series R) due 2034, and counsel thereto; (f) Computershare Trust

Company, N.A. and Computershare Trust Company of Canada, in their capacities as indenture

trustee under: (i) the 11.0% EFIH senior secured second lien notes due 2021; and (ii) the

11.75% EFIH senior secured second lien notes due 2022, and counsel thereto; (g) UMB Bank,

N.A. in its capacity as indenture trustee under: (i) the 9.75% EFIH senior unsecured notes due

2019; and (ii) the 11.25%/12.25% EFIH senior toggle notes due 2018, and counsel thereto; (h)

BOKF, NA, dba Bank of Arizona, in its capacity as indenture trustee under 11.50% TCEH senior

secured notes due 2020, and counsel thereto; (i) CSC Trust Company of Delaware in its capacity

as indenture trustee under: (i) the 6.875% EFIH senior secured notes due 2017; and (ii) the

10.0% EFIH senior secured notes due 2020, and counsel thereto; (j) Law Debenture Trust

Company of New York in its capacity as indenture trustee under: (i) the 10.25% TCEH senior

unsecured notes due 2015; and (ii) the 10.50%/11.25% TCEH senior toggle notes due 2016, and

counsel thereto; (k) Wilmington Savings Fund Society, FSB in its capacity as indenture trustee

under the 15.0% TCEH senior secured second lien notes due 2021, and counsel thereto;

(l) counsel to certain holders of claims against the Debtors regarding each of the foregoing

described in clauses (c) through (k); (m) the agent for the TCEH debtor-in-possession financing



                                              16
             Case 14-10979-CSS        Doc 1441-3      Filed 07/01/14    Page 18 of 24




facility and counsel thereto; (n) the agent for the EFIH debtor-in-possession financing facility

and counsel thereto; (o) counsel to certain holders of equity in Texas Energy Future Holdings

Limited Partnership; (p) counsel to the Ad Hoc Committee of TCEH Unsecured Noteholders;

(q) counsel to the Ad Hoc Committee of TCEH Second Lien Noteholders; (r) Oncor Electric

Delivery Holdings Company LLC and counsel thereto; (s) Oncor Electric Delivery Company

LLC and counsel thereto; (t) the Securities and Exchange Commission; (u) the Internal Revenue

Service; (v) the Office of the United States Attorney for the District of Delaware; (w) the Office

of the Texas Attorney General on behalf of the Public Utility Commission of Texas; (x) counsel

to the Electric Reliability Council of Texas; (y) those parties that have requested notice pursuant

to Bankruptcy Rule 2002; (z) the Bank of New York Mellon; (a)(a) Fidelity; (b)(b) the SERP

SSRP Beneficiaries; and (c)(c) the SDP Retirees. The Debtors submit that, in light of the nature

of the relief requested, no other or further notice need be given.

                                         No Prior Request

       31.      32.No prior request for the relief sought in this Motion has been made to this or

any other court.

                               [Remainder of page intentionally left blank.]




                                                 17
          Case 14-10979-CSS         Doc 1441-3      Filed 07/01/14     Page 19 of 24




       WHEREFORE, the Debtors respectfully request that the Court enter the Order,

substantially in the form attached hereto as Exhibit A, granting the relief requested in this

Motion and granting such other and further relief as is appropriate under the circumstances.

Wilmington, Delaware
Dated: June 27July 1, 2014
                                       RICHARDS, LAYTON & FINGER, P.A.
                                       Mark D. Collins (No. 2981)
                                       Daniel J. DeFranceschi (No. 2732)
                                       Jason M. Madron (No. 4431)
                                       920 North King Street
                                       Wilmington, Delaware 19801
                                       Telephone:      (302) 651-7700
                                       Facsimile:      (302) 651-7701
                                       Email:          collins@rlf.com
                                                       defranceschi@rlf.com
                                                       madron@rlf.com
                                       -and-

                                       KIRKLAND & ELLIS LLP
                                       Richard M. Cieri (admitted pro hac vice)
                                       Edward O. Sassower, P.C. (admitted pro hac vice)
                                       Stephen E. Hessler (admitted pro hac vice)
                                       Brian E. Schartz (admitted pro hac vice)
                                       601 Lexington Avenue
                                       New York, New York 10022-4611
                                       Telephone:      (212) 446-4800
                                       Facsimile:      (212) 446-4900
                                       Email:          richard.cieri@kirkland.com
                                                       edward.sassower@kirkland.com
                                                       stephen.hessler@kirkland.com
                                                       brian.schartz@kirkland.com
                                       -and-

                                       James H.M. Sprayregen, P.C. (admitted pro hac vice)
                                       Chad J. Husnick (admitted pro hac vice)
                                       Steven N. Serajeddini (admitted pro hac vice)
                                       300 North LaSalle
                                       Chicago, Illinois 60654
                                       Telephone:       (312) 862-2000
                                       Facsimile:       (312) 862-2200
                                       Email:           james.sprayregen@kirkland.com
                                                        chad.husnick@kirkland.com
                                                        steven.serajeddini@kirkland.com

                                       Proposed Co-Counsel to the Debtors and Debtors in Possession
Case 14-10979-CSS   Doc 1441-3   Filed 07/01/14   Page 20 of 24




                        EXHIBIT A

                      Proposed Order
            Case 14-10979-CSS               Doc 1441-3         Filed 07/01/14         Page 21 of 24




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                                              )
In re:                                                        )    Chapter 11
                                                              )
ENERGY FUTURE HOLDINGS CORP., et al.,1                        )    Case No. 14-10979 (CSS)
                                                              )
                           Debtors.                           )    (Jointly Administered)
                                                              )

                           ORDER AUTHORIZING
                   CERTAIN OF THE DEBTORS TO CONTINUE
            HONORING OBLIGATIONS TO RETIREES AND NON-INSIDER
         EMPLOYEES ON ACCOUNT OF NON-QUALIFIED BENEFIT PROGRAMS


         Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (collectively, the “Debtors”), for entry of an order (this “Order”) authorizing, but not

directing, the Debtors to honor their obligations under the Non-Qualified Benefit Programs and

to continue to honor certain obligations to current, non-insider employees and retirees under the

Non-Qualified Benefit Programs in the ordinary course of business, all as more fully set forth in

the Motion and the Kirby Declaration; and upon the First Day Declaration; and the Court having

found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334; and the

Court having found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2); and the

Court having found that venue of this proceeding and the Motion in this district is proper

pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having found that the relief requested in



1   The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The location of the
    debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large number of debtors in these
    chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
    digits of their federal tax identification numbers is not provided herein. A complete list of such information
    may be obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.

2   Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.
            Case 14-10979-CSS        Doc 1441-3      Filed 07/01/14     Page 22 of 24




the Motion is in the best interests of the Debtors’ estates, their creditors, and other parties in

interest; and the Court having found that the Debtors provided appropriate notice of the Motion

and the opportunity for a hearing on the Motion under the circumstances; and the Court having

reviewed the Motion and having heard the statements in support of the relief requested therein at

a hearing before the Court (the “Hearing”); and the Court having determined that the legal and

factual bases set forth in the Motion and at the Hearing establish just cause for the relief granted

herein; and upon all of the proceedings had before the Court; and after due deliberation and

sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      The Debtors are authorized, but not directed, to continue to honor certain

obligations arising in connection with the Non-Qualified Benefit Programs in the ordinary course

of business and in accordance with the Debtors’ prepetition policies and programs, and to honor

any related administrative costs; provided, however, that the Debtors shall not honor any

obligations to any insider (as defined in the Bankruptcy Code).

       3.      Notwithstanding the foregoing, nothing in this Order shall constitute a

determination by the Court as to whether the employees subject of this Order are or are not

“insiders”, as that term is defined in section 101(31) of the Bankruptcy Code; provided, however,

that payments actually made under the Non-Qualified Benefits Programs pursuant to paragraph 2

above are expressly authorized by this Court and shall not be subject to disgorgement or

avoidance actions commenced after such payments have been made on the basis that the

employees were insiders.

       4.      3.In accordance with the Order and any other order of this Court, each of the

financial institutions at which the Debtors maintain their accounts relating to the payment of the


                                                 2
            Case 14-10979-CSS        Doc 1441-3       Filed 07/01/14     Page 23 of 24




obligations described in the Motion is authorized to honor checks presented for payment of

obligations described in the Motion and all fund transfer requests made by the Debtors related

thereto to the extent that sufficient funds are on deposit in such amounts.

       5.      4.Notwithstanding the relief granted in this Order and any actions taken pursuant

to such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

claim against a Debtor entity; (b) a waiver of the Debtors’ rights to dispute any claim on any

grounds; (c) a promise or requirement to pay any claim; (d) an implication or admission that any

particular claim is of a type specified or defined in this Order or the Motion; (e) a request or

authorization to assume any agreement, contract, or lease pursuant to section 365 of the

Bankruptcy Code; (f) a waiver of the Debtors’ rights under the Bankruptcy Code or any other

applicable law; or (g) to create an administrative priority claim on account of the Employee

Obligations. Payments made pursuant to this Order shall not be construed as an admission as to

the validity of any claim or a waiver of the Debtors’ rights to subsequently dispute such claim.

       6.      5.Notice of the Motion as provided therein shall be deemed good and sufficient

and the requirements of the Local Bankruptcy Rule are satisfied by such notice.

       7.      6.Notwithstanding the possible applicability of Bankruptcy Rules 6004(h), 7062,

and 9014 or otherwise, the terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.

       8.      7.All time periods set forth in this Order shall be calculated in accordance with

Bankruptcy Rule 9006(a).

       9.      8.The Debtors are authorized to take all actions necessary to effectuate the relief

granted pursuant to this Order in accordance with the Motion.




                                                 3
             Case 14-10979-CSS       Doc 1441-3       Filed 07/01/14    Page 24 of 24




       10.      9.The Court retains exclusive jurisdiction with respect to all matters arising from

or related to the implementation of this Order.

Wilmington, Delaware
Dated: ____, 2014


                                                  THE HONORABLE CHRISTOPHER S. SONTCHI
                                                  UNITED STATES BANKRUPTCY JUDGE




                                                  4
